Case 2:03-cv-02845-BBD-dkv Document 65 Filed 08/08/05 Page 1 of 2 Page|D 85

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IN THE UNITED sTATES DISTRICT CoURT 05 AUG -3 PH $= 17
FoR THE WESTERN DISTRICT 0F TENNESSEE

ll'lOM‘\S M. GOULD
WESTERN DIVISION M, U$b pigmm mr
W/D OF `§Y‘J, STEWHIS

 

CAROL TERESA HART, by and
through her parent and next friend,
BEVERLY CAROL HART,

Plaintiffs, Case No. 03-2845 D V

VS.

SHELBY COUNTY SCHOOL DISTRIC'I`,
et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion to Dismiss or Alternatively to Affirm Finding of
Administrative LaW Judge and to Dismiss filed on March 7, 2005, in this case.

This matter is hereby referred to the United States Magistrate Judge for a hearing and a
Report and Recommendation. Any exceptions to the Magistrate Juclge’S order shall be made by

motion within ten (10) days of the order. Further, all exceptions shall be stated With particularity

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 65 in
case 2:03-CV-02845 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

